                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                           CASE NO. 3:20-CR-189-KDB-DCK

 UNITED STATES OF AMERICA,                              )
                                                        )
                 Plaintiff,                             )
                                                        )
    v.                                                  )      ORDER
                                                        )
 BRIAN KURSONIS,                                        )
                                                        )
                 Defendant.                             )
                                                        )

         THIS MATTER IS BEFORE THE COURT on the Government’s “Motion To Seal”

(Document No. 34) filed on November 25, 2021. This motion has been referred to the undersigned

Magistrate Judge pursuant to 28 U.S.C. § 636(b), and immediate review is appropriate. Having

carefully considered the motion and the record, the undersigned will grant the motion.

         A party who seeks to seal any pleading must comply with the Local Rules of this Court.

Local Civil Rule(“LCvR”) 6.1 provides in relevant part as follows:

         LCvR. 6.1     SEALED FILINGS AND PUBLIC ACCESS.

         (a)    Scope of Rule. To further openness in civil case proceedings, there
                is a presumption under applicable common law and the First
                Amendment that materials filed in this Court will be filed unsealed.
                This Rule governs any party’s request to seal, or otherwise restrict
                public access to, any materials filed with the Court or used in
                connection with judicial decision- making. As used in this Rule,
                “materials” includes pleadings and documents of any nature and in
                any medium or format.

         (b)    Filing under Seal. No materials may be filed under seal except by
                Court order, pursuant to a statute, or in accordance with a previously
                entered Rule 26(e) protective order.

         (c)    Motion to Seal or Otherwise Restrict Public Access. A party’s
                request to file materials under seal must be made by formal motion,
                separate from the motion or other pleading sought to be sealed,




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               pursuant to LCvR 7.1. Such motion must be filed electronically
               under the designation “Motion to Seal.” The motion must set forth:

               (1)    A non-confidential description of the material sought
                      to be sealed;
               (2)    A statement indicating why sealing is necessary and
                      why there are no alternatives to filing under seal;
               (3)    Unless permanent sealing is sought, a statement
                      indicating how long the party seeks to have the
                      material maintained under seal and how the matter is
                      to be handled upon unsealing; and
                      (4)     Supporting statutes, case law, or other
                      authority.
LCvR 6.1.

       By the instant motion, the Government seeks to file “Proposed Redactions” (Document

No. 33) under seal. (Document No. 34). The Government contends that this filing includes

sensitive information that must be sealed pursuant to 18 U.S.C. § 3509(d)(2). Id.

       Having considered LCvR 6.1(c) and LCrR 49.1.1, and the record of this case, the Court

will allow the motion. Noting that the time for public response has not run to this motion, the

Court will consider any objection to this Order from non-parties as an objection to the motion,

requiring no additional burden for any non-party under the Federal Rules of Civil Procedure. See

LCvR 6.1(e).

       IT IS, THEREFORE, ORDERED that the Government’s “Motion To Seal” (Document

No. 34) is GRANTED. Document No. 33 shall be SEALED and remain under SEAL until

otherwise ordered by this Court.

                                   Signed: November 29, 2021




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